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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      LAREDO DIVISION

                                                                 §
    In re:                                                       §         Chapter 11
                                                                 §
    VOLUSION, LLC1                                               §         Case No. 20-50082 (DRJ)
                                                                 §
                              Debtor.                            §
                                                                 §

                        DEBTOR’S EMERGENCY MOTION FOR
                 AUTHORITY TO USE CASH COLLATERAL AND GRANTING
               ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES

             EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE CONDUCTED
             ON THIS MATTER ON JULY 30, 2020, AT 1:45 P.M. (CENTRAL TIME) IN
             COURTROOM 400, 4TH FLOOR, 515 RUSK STREET, HOUSTON, TEXAS 77002. IF
             YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT EMERGENCY
             CONSIDERATION IS NOT WARRANTED, YOU MUST EITHER APPEAR AT THE
             HEARING OR FILE A WRITTEN RESPONSE PRIOR TO THE HEARING.
             OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
             GRANT THE RELIEF REQUESTED.
             THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
             OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
             PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
             AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
             PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
             DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
             MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
             THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
             OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
             ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
             MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION
             AT THE HEARING.
             REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.
             AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S REGULAR DIAL-IN
             NUMBER. THE DIAL-IN NUMBER IS +1(832) 917-1510. YOU WILL BE RESPONSIBLE
             FOR YOUR OWN LONG-DISTANCE CHARGES. YOU WILL BE ASKED TO KEY IN
             THE CONFERENCE ROOM NUMBER. JUDGE JONES’ CONFERENCE ROOM
             NUMBER IS 205691.
             PARTIES MAY PARTICIPATE IN ELECTRONIC HEARINGS BY USE OF AN
             INTERNET CONNECTION. THE INTERNET SITE IS WWW.JOIN.ME. PERSONS
             CONNECTING BY MOBILE DEVICE WILL NEED TO DOWNLOAD THE FREE
             JOIN.ME APPLICATION.

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    The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
    is: Volusion, LLC (9037). The Debtor’s service address is 1835A Kramer Lane, Suite 100, Austin, TX 78758.
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       ONCE CONNECTED TO WWW.JOIN.ME, A PARTICIPANT MUST SELECT “JOIN A
       MEETING”. THE CODE FOR JOINING THIS HEARING BEFORE JUDGE JONES IS
       “JUDGEJONES”.   THE NEXT SCREEN WILL HAVE A PLACE FOR THE
       PARTICIPANT’S NAME IN THE LOWER LEFT CORNER. PLEASE COMPLETE THE
       NAME AND CLICK “NOTIFY”.
       RELIEF IS REQUESTED NO LATER THAN JULY 30, 2020.

       The above-captioned debtor and debtor in possession (the “Debtor”) respectfully states as

follows in support of this motion (this “Motion”):

                                     Jurisdiction and Venue

      1.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Debtor confirms its consent, pursuant to rule 7008

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of an interim

order by the Court in connection with this Motion to the extent that it is later determined that the

Court, absent consent of the parties, cannot enter interim orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

      2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

      3.       The bases for the relief requested herein are §§ 105 and 363 of the United States

Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) and Bankruptcy Rule 6004.

                                           Background

      4.       The Debtor, Volusion, LLC, was founded in 1999 and based in Austin, Texas. It

is a SaaS software developer focusing on creating customer websites and e-commerce platforms

for clients. It concentrates on the small and mid-sized business segments. The company serves




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customers across a variety of industries such as apparel, sporting goods, and specialty retailers.

The company has approximately 150 employees.

      5.       On January 26, 2015, Main Street Capital Corporation (“Main Street”), as agent,

provided the Debtor with a senior secured term loan in the amount of $25.0 million and a $20.0

million direct equity investment for growth financing to fund the research and development,

capitalized software costs and sales and marketing efforts associated with the development and

implementation of the Debtor’s Mozu platform. On November 23, 2016, the Company completed

the sale of its Mozu business and entered into an Amended and Restated Loan Agreement with

Main Street, dated November 23, 2016 (as amended, modified, waived, and/or supplemented from

time to time, the “Loan Documents”), by and among Debtor, Main Street and HMS Income Fund,

Inc. (“HMS,” and together with Main Street, the “Secured Lenders”), pursuant to which secured

notes due January 26, 2020 (the “Secured Notes”) were issued in the principal amount of

approximately $30 million. On January 26, 2020, the outstanding term loan with the Secured

Lenders matured. As of the Petition Date, the Secured Notes were outstanding and remain in

default.

      6.       On June 9, 2020, the Debtor’s Board of Managers was replaced and reconstituted

with a new slate of independent Managers.

      7.       As of the Petition Date, approximately $28.9 million in principal and approximately

$1.4 million in unpaid interest are outstanding in respect of the Secured Notes (together, the “Loan

Obligations”), plus accrued and unpaid interest, which is secured by substantially all of the

Debtor’s assets, existing or acquired (the “Prepetition Collateral”).

      8.       The Debtors’ cash, including without limitation, all cash and other amounts on

deposit or maintained in any account or accounts by Debtor, wherever located, any amounts


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generated by the collection of accounts receivable, sale of inventory or other disposition of the

Prepetition Collateral, and any proceeds of the Prepetition Collateral, in each case constitutes “cash

collateral” within the meaning of section 363(a) of the Bankruptcy Code, and thus constitutes the

“Cash Collateral” for purposes of this Motion.

                                         Relief Requested

      9.         The Debtor requests that the Court enter an order, substantially in the form of the

order filed with this Motion (the “Interim Order”), (a) authorizing the consensual use of the

Secured Lenders’ Cash Collateral and (b) granting adequate protection to the Secured Lenders.

      10.        Allowing the Debtor to continue to use the Secured Lenders’ Cash Collateral is

necessary to allow the Debtor to continue to operate and to ensure the greatest return possible for

all creditors. The Debtor requests that this Court approve the consensual use of the Secured

Lenders’ Cash Collateral.

                                         Proposed Budget

      11.        During this chapter 11 case, the Debtor requests that this Court enable access by

the Company to the Cash Collateral to fund working capital, general corporate purposes, and

administrative costs and expenses of the Debtor incurred in this chapter 11 case, as provided in the

terms set out in the Interim Order, including in respect of the initial budget attached as Exhibit A

to the Interim Order.

                                       Adequate Protection

      12.        The Secured Lenders are being adequately protected by the interim relief to justify

the Debtor’s use of their cash collateral. Further, the Secured Lenders consent to entry of the

Interim Order.




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                                     Emergency Consideration

      13.       Pursuant to Local Bankruptcy Rule 9013-1(i), and Part (D)(9) of the Complex

Procedures, the Debtor requests emergency consideration of this Motion. The relief requested is

critical to the viability of its operations and that any delay in granting the relief requested could

hinder the Debtor’s operations and cause irreparable harm. Accordingly, the Debtor submits that

it has satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 and,

therefore, respectfully requests that the Court approve the relief requested in this Motion on an

emergency basis.

                                                Notice

      14.       Notice of the hearing on the relief requested in this Motion has been provided by

the Debtor in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the

Local Bankruptcy Rules, and is sufficient under the circumstances. Without limiting the forgoing,

due notice was afforded, whether by facsimile, electronic mail, overnight courier or hand delivery,

to parties-in-interest, including: (a) the Office of the United States Trustee for the Southern District

of Texas; (b) entities listed as holding the 20 largest unsecured claims against the Debtor; (c) the

agent under the Debtor’s prepetition credit facility; (d) the Office of the United States Attorney for

the Southern District of Texas; (e) the state attorneys general for states in which the Debtor

conducts business; (f) the Internal Revenue Service; and (g) any party that has requested notice

pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested, no other or further

notice need be given.

       WHEREFORE, the Debtor respectfully requests that the Court enter the Interim Order

granting the relief requested in this Motion and granting such other and further relief as is

appropriate under the circumstances.


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July 28, 2020                     /s/ Matthew D. Cavenaugh
                                  Matthew D. Cavenaugh (TX Bar No. 24062656)
                                  Jennifer F. Wertz (TX Bar No. 24072822)

                                  JACKSON WALKER L.L.P.
                                  1401 McKinney Street, Suite 1900
                                  Houston, Texas 77010
                                  Telephone: (713) 752-4200
                                  Facsimile: (713) 752-4221
                                  Email: mcavenaugh@jw.com
                                  Email: jwertz@jw.com

                                  PROPOSED COUNSEL FOR THE DEBTOR
                                  AND DEBTOR IN POSSESSION




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                                     Certificate of Service

        I certify that on July 28, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh


                                    Certificate of Accuracy

        Pursuant to Local Rule 9013-1(i), I hereby certify that the factual allegations contained
herein are accurate to the best of my knowledge.


                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




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